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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

Katheewne Ceecket- CIVIL ACTION
Vv.
Lv ITRoLD eA RMACEUTICALS, \We. ETAL: NO. A:\4- cv - COIR} - WE

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. a)

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

 

 

 

management cases.) ¢<)
(f) Standard Management — Cases that do not fall into any one of the other tracks. a)
LUITC6LO PRARMACESTICALS , IVC.
AMERICAN REGENT, INC.
§ [2 (ROAM Kennet A. Murray DAWCHKL SANKYO, ING -
Date Attorney-at-law Attorney for
AS -48G- AATOO AS: ACH: 2ASH KENNETH. Muaery © OBR. CoM
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02
